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                       8     WILLIAM J. HOFFMAN, Receiver
                       9                            UNITED STATES DISTRICT COURT
                     10                           CENTRAL DISTRICT OF CALIFORNIA
                     11                                   WESTERN DIVISION
                     12 WILLIAM J. HOFFMAN, Court-              Case No. 2:15-cv-8498
                        appointed permanent receiver for
                     13 Nationwide Automated Systems, Inc.,     COMPLAINT FOR FRAUDULENT
                        Oasis Studio Rentals, LLC, Oasis Studio TRANSFER
                     14 Rentals #2, LLC, Oasis Studio
                        Rentals #3, LLC, and their subsidiaries
                     15 and affiliates,
                     16                    Plaintiff,
                     17               v.
                     18 WILLIAM FIRESTONE, individually,
                        as Trustee of the Firestone Family Trust,
                     19 and as shareholder of the dissolved
                        corporation, Firestone Holdings, Inc.;
                     20 and FIRESTONE HOLDINGS, INC. a
                        California corporation,
                     21
                                     Defendants.
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                       1              Plaintiff William J. Hoffman of Trigild, Inc. ("Receiver"), the Court-appointed
                       2 permanent receiver for Nationwide Automated Systems, Inc. ("NASI"), Oasis Studio
                       3 Rentals, LLC, Oasis Studio Rentals #2, LLC, Oasis Studio Rentals #3, LLC, and
                       4 their subsidiaries and affiliates (collectively with NASI, "Receivership Entities"),
                       5 hereby brings the following Complaint against the above-captioned Defendants and
                       6 alleges, on behalf of the Receivership Entities, as follows:
                       7                              I.    JURISDICTION AND VENUE
                       8              1.    This Court has jurisdiction over this matter under 28 U.S.C.
                       9 sections 1345 and 1367(a), and the doctrines of ancillary and supplemental
                     10 jurisdiction, in that this action arises from a common nucleus of operative facts as,
                     11 and is substantially related to the original claims in, the Securities and Exchange
                     12 Commission ("Commission") enforcement action styled as Securities and Exchange
                     13 Commission v. Nationwide Automated Systems, Inc., et al., United States District
                     14 Court, Central District of California, Case No. 14-CV-07249-SJO (FFMx) ("SEC
                     15 Action").
                     16               2.    This Court may exercise personal jurisdiction over the above-captioned
                     17 Defendants pursuant to Federal Rule of Civil Procedure 4(k)(1)(A).
                     18               3.    Venue in the Central District of California is proper under 28 U.S.C.
                     19 section 1391 because this action is an ancillary proceeding to the SEC Action and
                     20 because the Receiver was appointed in this District pursuant to the Preliminary
                     21 Injunction and Orders (1) Freezing Assets; (2) Prohibiting the Destruction of
                     22 Documents; (3) Requiring Accountings; and (4) Appointing a Receiver entered by
                     23 this Court in the SEC Action on October 29, 2014 ("Preliminary Injunction").
                     24                                          II.    PARTIES
                     25               4.    The Receiver is the duly appointed permanent receiver for the
                     26 Receivership Entities and was appointed permanent receiver for the Receivership
                     27 Entities pursuant to the Preliminary Injunction. Among other things, the Preliminary
                     28 Injunction calls for the Receiver to recover and marshal, for the benefit of creditors
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                       1 of and investors in the Receivership Entities, any and all assets which were owned,
                       2 leased, occupied, or otherwise controlled by the Receivership Entities or were
                       3 otherwise purchased with assets of the Receivership Entities. The Receiver holds
                       4 exclusive authority and control over the assets of the Receivership Entities, including
                       5 over the causes of action alleged herein, over which this Court has ancillary and
                       6 supplemental jurisdiction.
                       7              5.   On information and belief, William Firestone, individually, as trustee of
                       8 the Firestone Family Trust, and as shareholder of the dissolved corporation Firestone
                       9 Holdings, Inc., is a citizen and resident of the County of Los Angeles, California and
                     10 is a recipient of assets of the Receivership Entities as described further herein.
                     11               6.   On information and belief, Firestone Holdings, Inc. is a dissolved
                     12 California corporation with a last known business address in the County of
                     13 Los Angeles, California and is a recipient of assets of the Receivership Entities as
                     14 described further herein.
                     15                               III.   FACTUAL ALLEGATIONS
                     16               A.   The Purported Business of the Receivership Entities and the
                     17                    Commencement of the SEC Action
                     18               7.   As alleged by the Commission in the SEC Action, NASI raised money
                     19 from investors by selling them Automated Teller Machines ("ATMs"), leasing the
                     20 ATMs back from investors, managing the ATMs for the investors, and paying the
                     21 investors "rents" that were guaranteed to total at least 20% of the purchase price paid
                     22 for the ATMs per year. The Receivership entities also paid referral fees to investors
                     23 and other agents who recruited new investors to purchase ATMs.
                     24               8.   In actuality, the Receivership Entities did not sell any ATMs to
                     25 investors, but instead fabricated and sold fictitious ATMs with fabricated serial
                     26 numbers and locations. The "rents" paid to investors who purchased fictitious
                     27 ATMs, as well as referral fees paid to investors and agents, were paid from the
                     28 amounts raised from other investors. Thus, NASI operated a classic Ponzi scheme.
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                       1              9.    On or about September 17, 2014, the Commission initiated the SEC
                       2 Action against the Receivership Entities and their principals Joel Gillis and Edward
                       3 Wishner, alleging violations of federal securities laws. The Commission petitioned
                       4 for the Receiver's appointment, and on September 30, 2014, and October 29, 2014,
                       5 this Court entered orders appointing the Receiver, first on a temporary basis and then
                       6 as permanent receiver for the Receivership Entities.
                       7              B.    The Receiver's Authority and Investigation Pursuant to His
                       8                    Appointment
                       9              10.   Pursuant to the terms of his appointment, the Receiver is vested with
                     10 exclusive authority and control over the assets of the Receivership Entities.
                     11 Specifically, Article XII of the Preliminary Injunction vests the Receiver with the
                     12 "full powers of an equity receiver, including, but not limited to . . . full power to
                     13 institute, pursue, and prosecute all claims and causes of action . . ."
                     14               11.   The Receiver's investigation to date supports and confirms the
                     15 Commissions allegations in the SEC Action, including that NASI operated a Ponzi
                     16 scheme, sold fictitious ATMs to investors and made rent and referral fee payments to
                     17 investors from funds raised from other investors. Defendants Gillis and Wishner
                     18 filed answers to the SEC's complaint in which they admit the facts supporting the
                     19 SEC's Ponzi scheme allegations.
                     20               C.    Criminal Indictment and Guilty Pleas
                     21               12.   On December 16, 2014, Gillis and Wishner were arrested and charged
                     22 with mail fraud, wire fraud, conspiracy, and aiding and abetting. United States v.
                     23 Gillis, et al., C.D. Cal. Case No. 14-CR-00712-SJO. Gillis and Wishner waived
                     24 indictment, surrendered their passports, and were released on bail. On January 13,
                     25 2015, and January 21, 2015, respectively, Wishner and Gillis plead guilty to all four
                     26 counts of the criminal information. In connection with Gillis' guilty plea, a statement
                     27 of facts signed by Gillis that supports the guilty plea was filed by the government
                     28 ("Statement of Facts"). As part of his guilty plea, Gillis stated under oath that the
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                       1 facts in the Statement of Facts were true. The Statement of Facts is attached hereto
                       2 as Exhibit A.
                       3              13.   The Statement of Facts is fully incorporated herein by reference. The
                       4 facts stated therein are included in this complaint as though fully restated and alleged
                       5 herein.
                       6              D.    The Fraudulent Transfers to Defendants From the Receivership
                       7                    Entities
                       8              14.   Attached hereto as Exhibit B is a schedule of bank transfers from
                       9 Defendants to NASI and from NASI to Defendants. As the schedule reflects, the net
                     10 amount received by Defendants ("Profit Amount") is calculated by subtracting
                     11 (a) transfers from NASI to Defendants ("Payments from NASI") from (b) transfers
                     12 from Defendants to NASI ("Deposit Amount"). Defendants' Profit Amount is
                     13 $2,343,906.1
                     14               15.   Defendants had no business dealings with NASI apart from transactions
                     15 relating to the purchase and leasing of fictitious ATMs and provided no services or
                     16 other value to NASI other than amounts paid for the fictitious ATMs.
                     17                            COUNT I – FRAUDULENT TRANSFER
                     18               16.   The Receiver incorporates herein each and every allegation contained in
                     19 Paragraphs 1 through 14, inclusive, hereinabove set forth.
                     20               17.   Over the course of its pre-receivership operations, NASI paid the Profit
                     21 Amount to Defendants with the intent to hinder, delay, or defraud NASI's creditors.
                     22 Such payments were made from the proceeds of the Ponzi scheme which were
                     23 generated from investors in the scheme.
                     24               18.   The Receivership Entities received nothing of value in exchange for the
                     25 payments that comprise the Profit Amount.
                     26
                     27 1 All transfers from Payments from NASI occurring (a) after Defendants received
                          payments equal to the Deposit Amount, and (b) more than seven years prior to the
                     28   date of filing this Complaint have been excluded from the calculation of the Profit
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                          Amount.
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                       1              19.   At the time the payments comprising the Profit Amount were made to
                       2 Defendants, NASI was engaged in or about to engage in business transactions for
                       3 which its remaining assets were unreasonably small in relation to the business or
                       4 transaction.
                       5              20.   NASI was insolvent, or became insolvent, shortly after the subject
                       6 payments comprising the Profit Amount were made to Defendants.
                       7              21.   NASI intended to incur, or believed or reasonably should have believed
                       8 it would incur, debts beyond its ability to pay as they became due.
                       9              22.   As a consequence, the full Profit Amount is an actual and constructively
                     10 fraudulent transfer under California's Uniform Fraudulent Transfer Act ("CUFTA"),
                     11 Cal. Civ. Code section 3439, et seq., and is subject to immediate disgorgement to the
                     12 Receiver.
                     13                                      PRAYER FOR RELIEF
                     14               WHEREFORE, the Receiver prays for judgment against Defendants as
                     15 follows:
                     16               (a)   For a judgment against Defendants avoiding the transfers from NASI to
                     17 Defendants comprising the Profit Amount; and
                     18               (b)   For an order directing Defendants to pay restitution to the Receiver in
                     19 the Profit Amount on account of the fact they have been unjustly enriched; and
                     20               (c)   For an order deeming the Profit Amount paid to Defendants to be held
                     21 in constructive trust for the benefit of the Receivership Entities; and
                     22               (d)   For an order directing Defendants to immediately pay the Profit
                     23 Amount, plus prejudgment interest and costs, to the Receiver; and
                     24               (e)   For such other and further relief as the Court may deem proper.
                     25 Dated: October 29, 2015                          ALLEN MATKINS LECK GAMBLE
                                                                          MALLORY & NATSIS LLP
                     26
                     27                                                  By:        /s/ Ted Fates
                                                                               TED FATES
                     28                                                        Attorneys for Plaintiff
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